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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 Ariel Leavy, individually and on behalf of all others
 similarly situated;                                                    Civil Action No: ____________
                                           Plaintiff,
                                                                         CLASS ACTION COMPLAINT

                                                                          DEMAND FOR JURY TRIAL




        -v.-
 Enhanced Recovery Company, LLC d/b/a ERC and
 John Does 1-25,

                                       Defendants.


Plaintiff Ariel Leavy (hereinafter, “Plaintiff” or “Leavy”), a New York resident, brings this Class

Action Complaint by and through his attorneys, RC Law Group, PLLC, against Defendant Enhanced

Recovery Company, LLC d/b/a ERC (hereinafter “Defendant” or “ERC”), individually and on

behalf of a class of all others similarly situated, pursuant to Rule 23 of the Federal Rules of Civil

Procedure, based upon information and belief of Plaintiff’s counsel, except for allegations

specifically pertaining to Plaintiff, which are based upon Plaintiff's personal knowledge.



                      INTRODUCTION/PRELIMINARY STATEMENT

       1.      Congress enacted the FDCPA in 1977 in response to the "abundant evidence of the

   use of abusive, deceptive, and unfair debt collection practices by many debt collectors." 15

   U.S.C. §1692(a). At that time, Congress was concerned that "abusive debt collection practices

   contribute to the number of personal bankruptcies, to material instability, to the loss of jobs, and

   to invasions of individual privacy." Id. Congress concluded that "existing laws…[we]re


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inadequate to protect consumers," and that "'the effective collection of debts" does not require

"misrepresentation or other abusive debt collection practices." 15 U.S.C. §§ 1692(b) & (c).

   2.      Congress explained that the purpose of the Act was not only to eliminate abusive

debt collection practices, but also to "insure that those debt collectors who refrain from using

abusive debt collection practices are not competitively disadvantaged." ld. § 1692(e). After

determining that the existing consumer protection laws ·were inadequate~ id § l692(b), Congress

gave consumers a private cause of action against debt collectors who fail to comply with the

Act. Id. § 1692k.

                               JURISDICTION AND VENUE

   3.      The Court has jurisdiction over this class action pursuant to 28 U.S.C. § 1331, as

well as 15 U.S.C. § 1692 et. seq. The Court also has pendent jurisdiction over the State law

claims in this action pursuant to 28 U.S.C. § 1367(a).

   4.      Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(2) as this is

where a substantial part of the events or omissions giving rise to the claim occurred.

                                  NATURE OF THE ACTION

   5.      Plaintiff brings this class action on behalf of a class of New York consumers under§

1692 et seq. of Title 15 of the United States Code, commonly referred to as the Fair Debt

Collections Practices Act ("FDCPA"), and

   6.      Plaintiff is seeking damages and declaratory and injunctive relief.

                                           PARTIES

   7.      Plaintiff is a resident of the State of New York, County of Erie, residing at 131

Berkshire Avenue, County of Erie, Buffalo, NY 14215.
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   8.       Defendant Enhanced Recovery Company, LLC d/b/a ERC is a "debt collector" as the

phrase is defined in 15 U.S.C. § 1692(a)(6) and used in the FDCPA with an address at 8041

Bayberry Road, Jacksonville, FL 32256.

   9.       Upon information and belief, Defendant is a company that uses the mail, telephone,

and facsimile and regularly engages in business the principal purpose of which is to attempt to

collect debts alleged to be due another.

   10.      Defendant is a "debt collector", as defined under the FDCPA under 15 U.S.C. §

1692a(6).

   11.      John Does l-25, are fictitious names of individuals and businesses alleged for the

purpose of substituting names of Defendants whose identities will be disclosed in discovery and

should be made parties to this action.

                                     CLASS ALLEGATIONS

   12.      Plaintiffs bring this claim on behalf of the following case, pursuant to Fed. R. Civ.

P. 23(a) and 23(b)(3).

   13.      The Class consists of:

            a. all individuals with addresses in the State of New York;

            b. to whom Enhanced Recovery Company, LLC sent an initial collection letter

               attempting to collect a consumer debt;

            c. regarding collection of a Capital One, N.A. Debt;

            d. that falsely defined Kohl’s Department Stores Inc., using a generic term of

               Creditor;

            e. which letter was sent on or after a date one (1) year prior to the filing of this

               action and on or before a date twenty-one (2l) days after the filing of this action.
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   14.      The identities of all class members are readily ascertainable from the records of

Defendants and those companies and entities on whose behalf they attempt to collect and/or

have purchased debts.

   15.      Excluded from the Plaintiff Classes are the Defendants and all officer, members,

partners, managers, directors and employees of the Defendants and their respective immediate

families, and legal counsel for all parties to this action, and all members of their immediate

families.

   16.      There are questions of law and fact common to the Plaintiff Classes, which common

issues predominate over any issues involving only individual class members. The principal issue

is whether the Defendants' written communications to consumers, in the forms attached as

Exhibits A, violate 15 U.S.C. §§ l692e, 1692g and 1692f.

   17.      The Plaintiffs' claims are typical of the class members, as all are based upon the same

facts and legal theories. The Plaintiffs will fairly and adequately protect the interests of the

Plaintiff Classes defined in this complaint. The Plaintiffs have retained counsel with experience

in handling consumer lawsuits, complex legal issues, and class actions, and neither the Plaintiffs

nor their attorneys have any interests, which might cause them not to vigorously pursue this

action.

   18.      This action has been brought, and may properly be maintained, as a class action

pursuant to the provisions of Rule 23 of the Federal Rules of Civil Procedure because there is a

well-defined community interest in the litigation:

            a. Numerosity: The Plaintiffs are informed and believe, and on that basis allege,

               that the Plaintiff Classes defined above are so numerous that joinder of all

               members would be impractical.
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          b. Common Questions Predominate: Common questions of law and fact exist as

              to all members of the Plaintiff Classes and those questions predominance over

              any questions or issues involving only individual class members. The principal

              issue is whether the Defendants' written communications to consumers, in the

              forms attached as Exhibit A violate 15 § l692e, § 1692f and §1692g.

          c. Typicality: The Plaintiff’s claims are typical of the claims of the class members.

              The Plaintiffs and all members of the Plaintiff Classes have claims arising out of

              the Defendants' common uniform course of conduct complained of herein.

          d. Adequacy: The Plaintiffs will fairly and adequately protect the interests of the

              class members insofar as Plaintiffs have no interests that are adverse to the absent

              class members. The Plaintiffs are committed to vigorously litigating this matter.

              Plaintiffs have also retained counsel experienced in handling consumer lawsuits,

              complex legal issues, and class actions. Neither the Plaintiffs nor their counsel

              have any interests which might cause them not to vigorously pursue the instant

              class action lawsuit.

          e. Superiority: A class action is superior to the other available means for the fair

              and efficient adjudication of this controversy because individual joinder of all

              members would be impracticable. Class action treatment will permit a large

              number of similarly situated persons to prosecute their common claims in a single

              forum efficiently and without unnecessary duplication of effort and expense that

              individual actions would engender.

   19.    Certification of a class under Rule 23(b)(3) of the Federal Rules of Civil Procedure

is also appropriate in that the questions of law and fact common to members of the Plaintiff
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Classes predominate over any questions affecting an individual member, and a class action is

superior to other available methods for the fair and efficient adjudication of the controversy.

   20.     Depending on the outcome of further investigation and discovery, Plaintiffs may, at

the time of class certification motion, seek to certify a class(es) only as to particular issues

pursuant to Fed. R. Civ. P. 23(c)(4).


                                   FACTUAL ALLEGATIONS

   21.     Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

numbered above herein with the same force and effect as if the same were set forth at length

herein.

   22.     Some time prior to November 17, 2017, an obligation was allegedly incurred to

Capital One, N.A. (“Capital One”).

   23.     The Capital One obligation arose out of a transaction involving Capital One credit

card purchases in which money, property, insurance or services, which are the subject of the

transaction, are primarily for personal, family or household purposes.

   24.     The alleged Capital obligation is a "debt" as defined by 15 U.S.C.§ 1692a(5).

   25.     Capital One is a "creditor" as defined by 15 U.S.C.§ 1692a(4).

   26.     Kohl’s Department Stores, Inc. or a subsequent alleged owner of the Capital One,

N.A. debt contracted the Defendant to collect the alleged debt.

   27.     Defendant collects and attempts to collect debts incurred or alleged to have been

incurred for personal, family or household purposes on behalf of creditors using the United

States Postal Services, telephone and internet.



                          Violation I – October 6, 2017 Collection Letter
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    28.     On or about October 6, 2017, Defendant sent the Plaintiff a collection letter (the

“Letter”) regarding the alleged debt owed to Kohl’s Department Stores, Inc. See October 6,

2017 Collection Letter – Attached hereto as Exhibit A.

    29.     When a debt collector solicits payment from a consumer, it must, within five days of

an initial communication, provide the consumer with a written validation notice which must

include the following information:

                (1) the amount of the debt;

                (2) the name of the creditor to whom the debt is owed;

                (3) a statement that unless the consumer, within thirty days after receipt of the

                notice, disputes the validity of the debt, or any portion thereof, the debt will be

                assumed to be valid by the debt collector;

                (4) a statement that if the consumer notifies the debt collector in writing within

                the thirty-day period that the debt, or any portion thereof, is disputed, the debt

                collector will obtain verification of the debt or a copy of the judgment against the

                consumer and a copy of such verification or judgment will be mailed to the

                consumer by the debt collector; and

                (5) a statement that, upon the consumer's written request within the thirty-day

                period, the debt collector will provide the consumer with the name and address

                of the original creditor, if different from the current creditor. 15 U.S.C. §

                1692g(a).

    30.     The FDCPA further provides that if the consumer notifies the debt collector in

writing within the thirty day period . . . that the debt, or any portion thereof, is disputed . . . the

debt collector shall cease collection . . . until the debt collector obtains verification of the
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debt . . . and a copy of such verification is mailed to the consumer by the debt collector. 15

U.S.C. § 1692g(b).

    31.     This letter did not contain all the requirements of ‘‘G Notice.''

    32.     This letter fails to identify the Plaintiff’s current creditor.

    33.     Defendant’s letter merely states, “Creditor: Kohl’s Department Stores, Inc.”.

    34.     The letter fails to indicate whether the “Creditor” refers to the original or current

creditor.

    35.     A debt collector has the obligation not just to convey the name of the current creditor

to whom the debt is owed, but also to convey such information clearly.

    36.     Mere illusions to the current creditor's identity are insufficient. The Letter must

specifically and clearly identify the current creditor of the collection account.

    37.     The letter fails to identify any party as “Present or Current” creditor.

    38.     Pursuant to 15 U.S.C. §1692g, a debt collector is required in the initial

communication with a consumer, to identify the name of the creditor to whom the debt is owed.

    39.     The obligation is not only to identify the name of the creditor, but to convey the name

of the creditor clearly and explicitly.

    40.     Specifically the letter falsely states the (supposed) Current Creditor as “Kohl’s

Department Stores, Inc.”

    41.     Kohl’s Department Stores, Inc. is neither a bank nor a lender of credit and, therefore,

cannot be the current creditor.

    42.     It is unclear if Capital One, N.A. is a different creditor from Kohl’s Department

Stores, Inc. and who the current creditor is.
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     43.     As a result of Defendant's deceptive, misleading and unfair debt collection practices,

  Plaintiff has been damaged.

                             COUNT I
VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT 15 U.S.C. §1692e
                               et seq.

     44.     Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

  above herein with the same force and effect as if the same were set forth at length herein.

     45.     Defendant’s debt collection efforts attempted and/or directed towards the Plaintiff

  violated various provisions of the FDCPA, including but not limited to 15 U.S.C. § 1692e.

     46.     Pursuant to 15 U.S.C. §1692e, a debt collector may not use any false, deceptive, or

  misleading representation or means in connection with the collection of any debt.

     47.     Defendant violated said section by:

             a. Making a false and misleading representation in violation of §1692e(10) in

                 incorrectly labeling Kohl’s Department Stores, Inc as a creditor.

     48.     By reason thereof, Defendant is liable to Plaintiff for judgment that Defendant's

  conduct violated Section 1692e et seq. of the FDCPA, actual damages, statutory damages, costs

  and attorneys’ fees.




                                COUNT II
      VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT 15 U.S.C.
                               §1692g et seq.

     49.     Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

  above herein with the same force and effect as if the same were set forth at length herein.
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   50.     Defendant’s debt collection efforts attempted and/or directed towards the Plaintiff

violated various provisions of the FDCPA, including but not limited to 15 U.S.C. § 1692g.

   51.      Pursuant to 15 USC §1692g, a debt collector:

   52.     Within five days after the initial communication with a consumer in connection with

the collection of any debt, a debt collector shall, unless the following information is contained

in the initial communication or the consumer has paid the debt, send the consumer a written

notice containing –

                   1. The amount of the debt;

                   2. The name of the creditor to whom the debt is owed;

                   3. A statement that unless the consumer, within thirty days after receipt of

                      the notice, disputes the validity of the debt, or any portion thereof, the

                      debt will be assumed to be valid by the debt-collector;

                   4. A statement that the consumer notifies the debt collector in writing within

                      thirty-day period that the debt, or any portion thereof, is disputed, the debt

                      collector will obtain verification of the debt or a copy of a judgment

                      against the consumer and a copy of such verification or judgment will be

                      mailed to the consumer by the debt collector; and

                   5. A statement that, upon the consumer’s written request within the thirty-

                      day period, the debt collector will provide the consumer with the name

                      and address of the original creditor, if different from the current creditor.

   53.     The Defendant violated 1692g(a)(2) by failing to clearly name the current creditor to

whom the debt is owed.
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    54.     By reason thereof, Defendant is liable to Plaintiff for judgment that Defendant's

conduct violated Section 1692g et seq. of the FDCPA, actual damages, statutory damages, costs

and attorneys’ fees.


                                COUNT III
     VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT 15 U.S.C.
                               §1692f et seq.

    55.     Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

above herein with the same force and effect as if the same were set forth at length herein.

    56.     Defendant’s debt collection efforts attempted and/or directed towards the Plaintiff

violated various provisions of the FDCPA, including but not limited to 15 U.S.C. § 1692f.

    57.     Pursuant to 15 U.S.C. §1692f, a debt collector may not use any unfair or

unconscionable means in connection with the collection of any debt.

    58.     Defendant violated this section by unfairly failing to convey the identity of the

current creditor of the debt the result of which was that Plaintiff could not ascertain to whom he

owed the debt.

    59.     By reason thereof, Defendant is liable to Plaintiff for judgment that Defendant's

conduct violated Section 1692f et seq. of the FDCPA, actual damages, statutory damages, costs

and attorneys’ fees.


                                  DEMAND FOR TRIAL BY JURY


    60.     Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby requests

a trial by jury on all issues so triable.


                                      PRAYER FOR RELIEF
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   WHEREFORE, Plaintiff Ariel Leavy, individually and on behalf of all others similarly

situated demands judgment from Defendant Enhanced Recovery Company, LLC d/b/a ERC,

as follows:


   1.         Declaring that this action is properly maintainable as a Class Action and certifying

Plaintiff as Class representative, and Daniel Kohn, Esq. as Class Counsel;

   2.         Awarding Plaintiff and the Class statutory damages;

   3.         Awarding Plaintiff and the Class actual damages;

   4.         Awarding Plaintiff costs of this Action, including reasonable attorneys’ fees and

expenses;

   5.         Awarding pre-judgment interest and post-judgment interest; and

   6.         Awarding Plaintiff and the Class such other and further relief as this Court may deem

just and proper.


   Dated: Hackensack, New Jersey
          December 18, 2017

                                                                 /s/ Daniel Kohn
                                                           By: Daniel Kohn

                                                           RC Law Group, PLLC
                                                           285 Passaic Street
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